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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

KHOLKAR VISHVESHWAR GANPAT,
                                                    Civil Action No. 18-13556 “E” (4)
       Plaintiff,
                                                    IN ADMIRALTY
v.
                                                  JUDGE SUSIE MORGAN
EASTERN PACIFIC SHIPPING PTE,
LTD., d/b/a/ “EPS”                                  CHIEF MAGISTRATE JUDGE
                                                    KAREN WELLS ROBY
       Defendant.


                    EASTERN PACIFIC’S NOTICE OF FILING –
              DECISION OF THE SOUTH GOA COURT, OCTOBER 8, 2021

       In further support of its Motions and Memoranda to Dismiss on forum non conveniens

grounds [ECF 204, Reply, ECF 216] and for choice of India law [ECF 203, Reply, ECF 217],

and to confirm the material fact dispute (at minimum) on plaintiff’s injunction motion [ECF 199,

Eastern Pacific Response/Opposition, ECF 218] as already set out in this Court’s record, Eastern

Pacific herewith files the October 8, 2021 decision of the South Goa Court, following in-person,

oral hearing on October 8th before the South Goa Court, Mr. Kholkar Vishveshwar Ganpat,

Eastern Pacific and EPS-India each represented and present by counsel.

       In the decision following in-personal, oral hearing October 8th, herewith, the Court

dismisses the Application of Mr. Kholkar Vishveshwar Ganpat under Order VII, Rule 11 of the

Indian Code of Civil Procedure, 1908 to dismiss the South Goa proceedings.

       Eastern Pacific filed with this Court Mr. Kholkar Vishveshwar Ganpat’s Application to

dismiss (prepared by his counsel, Mr. Arsekar and colleagues), which the South Goa Court

denied on October 8th, as Exhibits A-C of ECF 216, ECF 216-1, ECF 216-2, ECF 216-3.




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       The South Goa Court also on October 8th orally set a hearing for November 19, 2021, for

Eastern Pacific and EPS India to commence trial of the underlying lawsuit on Mr. Kholkar

Vishveshwar Ganpat’s substantive claims. The South Goa Court also will on November 19,

2021 further hear Eastern Pacific’s and EPS India’s second mandatory injunction application.

       Free access to the current docket in the Goa Court (including the accompanying Order) is

at https://services.ecourts.gov.in/ecourtindia_v6/main.php, entering CNR Number

GASG020032692020 .

Dated: October 14, 2021.

                                    Respectfully Submitted,

 /s/ J. Stephen Simms                           MICHAEL H. BAGOT, JR., T.A. (#2665)
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                           Eastern Pacific Shipping Pte. Ltd. Counsel




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